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1                               UNITED STATES DISTRICT COURT
2                                       DISTRICT OF NEVADA
3     RYAN McCREARY,                                        Case No. 2:20-cv-01236-APG-BNW
4                                              Plaintiff,                   ORDER
5            v.
6     CORE CIVIC, et al.,
7                                         Defendants.
8
9    I.     DISCUSSION

10          This action is a pro se civil rights complaint filed pursuant to 42 U.S.C. § 1983 by

11   an individual who has been released from the custody of the Nevada Southern Detention

12   Center. As such, the Court now directs Plaintiff to file an application to proceed in forma

13   pauperis by a non-prisoner on or before August 31, 2020 or pay the full filing fee of $400.

14   The Court will retain Plaintiff’s civil rights complaint (ECF No. 1-1) but will not file it until

15   the matter of the payment of the filing fee is resolved.

16   II.    CONCLUSION

17          For the foregoing reasons, IT IS ORDERED that the Clerk of the Court SHALL

18   SEND Plaintiff the approved form application to proceed in forma pauperis by a non-

19   prisoner, as well as the document entitled information and instructions for filing an in forma

20   pauperis application.

21          IT IS FURTHER ORDERED that on or before August 31, 2020, Plaintiff shall

22   either: (1) file a fully complete application to proceed in forma pauperis for non-prisoners;

23   or (2) pay the full filing fee of $400.

24          IT IS FURTHER ORDERED that if Plaintiff does not timely comply with this order,

25   dismissal of this action may result.

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            IT IS FURTHER ORDERED that the Clerk of the Court shall retain the complaint
2
     (ECF No. 1-1) but shall not file it at this time.
3
                    July 30, 2020
            DATED: _____________
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5
                                                 UNITED STATES MAGISTRATE JUDGE
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